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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


 RICHARD GLOSSP, et al.,                   )
                                           )
               Plaintiffs,                 )
                                           )
 -vs-                                      )      Case No. CIV-14-0665-F
                                           )
 RANDY CHANDLER, et al.,                   )
                                           )
               Defendants.                 )

                  ORDER FOR SCHEDULING CONFERENCE

        This case is set for a scheduling conference on August 10, 2020, at 10:00 a.m.
Plaintiff Wade Lay is excused from attending the conference.
        The conference will be held telephonically. The courtroom deputy will
contact counsel to make arrangements for telephonic appearances.
        At the conference, the court will establish a schedule which will incorporate
dates for the events described on Exhibit 1 hereto. (The list of events on Exhibit 1
is not necessarily exclusive, nor will the events on the schedule established by the
court necessarily occur in the same order as set forth on Exhibit 1.)
        At the motion hearing on May 5, 2020, the court generally discussed its
anticipated approach to scheduling in this case. That aspect of this case was also
addressed in the Memorandum filed on May 6, 2020. See doc. no. 320, at 5. The
court continues to be mindful (and has recently been reminded, Barr v. Lee, S. Ct.
No. 20A8, On Application For Stay or Vacatur, 2020 WL 3964985 [July 14, 2020])
of the need, in the interest of all parties, to bring this case to a conclusion without
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unnecessary delay.      Counsel should bear that in mind in preparation for the
scheduling conference.
        Entered this 28th day of July, 2020.




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